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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                  4:09CR3134
                                          )
             V.                           )
                                          )
KORINA KIT KUCERA,                        )                     ORDER
                                          )
                    Defendant.            )
                                          )


      On the unopposed oral motion of the plaintiff,

       IT IS ORDERED that Defendant Kucera’s sentencing is continued to Thursday,
January 27, 2011, at 12:00 noon, before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      DATED this 4th day of January, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
